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                EXHIBIT A
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                AFFIDAVIT OF SPECIAL AGENT BAYR LUKOMYANSKY

       I, Bayr Lukomyansky, declare and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I am a Special Agent (“SA”) with the United States Secret Service (“USSS”) and

have been employed as such since March 1, 2020. I attended the Criminal Investigator Training

Program at the Federal Law Enforcement Training Center in Glynco, Georgia and the United

States Secret Service Special Agent Training Course at the James J. Rowley Training Center in

Beltsville, Maryland. I am currently assigned to the Boston Field Office where I conduct

financial crime investigations, including investigations of violations of 18 U.S.C. § 1343 (Wire

Fraud). In connection with these investigations, I have conducted or participated in numerous

field interviews of suspects and witnesses, physical surveillance, researched bank account

documents and documents relating to the wiring of funds between banks and transfer of

cryptocurrency between exchanges. Through my training and experience, I have become familiar

with various financial frauds and schemes such as bank frauds, wire frauds and mail frauds.

                                 PURPOSE OF AFFIDAVIT

       2.       I submit this affidavit in support of a Verified Complaint for Forfeiture in Rem

against the following assets:

             a. 87,321.38 BEL1 seized from Binance account associated with User ID 285513545
                (“ACCOUNT-1”) on October 24, 2022;

             b. 29,239.22 USDT2 seized from Binance account associated with User ID
                153035005 (“ACCOUNT-2”) on October 24, 2022; and


       1
         “BEL” is the abbreviation for Bella Protocol, a blockchain-based cryptocurrency with
its value to dollar fluctuating with the market.
       2
        “USDT” is the abbreviation for Tether, a blockchain-based cryptocurrency whose
tokens operate as a stablecoin, indicating that each token is equivalent in value to one U.S.
dollar.
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             c. 52,308 USDT seized from Binance account associated with User ID 195586421
                (“ACCOUNT-3”) on October 24, 2022

(collectively, the “Defendant Property”).

       3.       As set forth below, there is probable cause to believe that the Defendant Property

represents proceeds traceable to a violation of 18 U.S.C. § 1343 (Wire Fraud) and is subject to

forfeiture to the United States pursuant to 18 U.S.C. § 981(a)(1)(C). The Defendant Property

was seized pursuant to seizure warrants issued in the District of Massachusetts (Dein, J.) on

September 15, 2022.

       4.       This affidavit is based on my personal knowledge, information provided by other

law enforcement offices and government employees, and information gathered during this

investigation including interviews of witnesses, the review of documents, and conversations with

other law enforcement officers. This affidavit is not intended to set forth all of the information

that I have learned during this investigation but includes only the information necessary to

establish probable cause for the forfeiture of the Defendant Property.

                         BACKGROUND ON CRYPTOCURRENCY

       5.       Based on my training, research, education, and experience, I am familiar with the

following relevant terms and definitions:

       6.       Cryptocurrency, a type of virtual currency, is a decentralized, peer-to peer,

network-based medium of value or exchange that may be used as a substitute for fiat currency to

buy goods or services or exchanged for fiat currency or other cryptocurrencies.3 Examples of

cryptocurrency are Bitcoin, Litecoin, and Ether. Cryptocurrency can exist digitally on the




       3
          Fiat currency is currency issued and regulated by a government such as the U.S. dollar,
euro, or Japanese yen.

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Internet, in an electronic storage device, or in cloud-based servers. Although not usually stored

in any physical form, public and private keys (described below) used to transfer cryptocurrency

from one person or place to another can be printed or written on a piece of paper or other

tangible object. Cryptocurrency can be exchanged directly person to person, through a

cryptocurrency exchange, or through other intermediaries. Generally, cryptocurrency is not

issued by any government, bank, or company; it is instead generated and controlled through

computer software operating on a decentralized peer-to-peer network. Most cryptocurrencies

have a “blockchain,” which is a distributed public ledger, run by the decentralized network,

containing an immutable and historical record of every transaction.4 Cryptocurrency is not

illegal in the United States.

        7.       Tether (“USDT”) is an alternative type of cryptocurrency or altcoin token.

Payments or transfers of value made with Tether are recorded in the blockchain network, but

unlike decentralized cryptocurrencies like bitcoin, Tether has some anatomical features of

centralization. One centralized feature is that Tether is a stablecoin or a fiat-collateralized token

that is backed by fiat currencies, or currencies issued by governments like the dollar and euro.

Tether is backed with a matching one to one fiat amount, making it much less violate than its

counterpart, Bitcoin. Due to Tether’s stable nature, wallet holders typically use a fundamental

strategy to hedge their cryptocurrency holdings into Tether to hedge their receipt or earnings

value, so it is not affected by the rest of the volatile cryptocurrency market.

        8.       Cryptocurrency is stored in a virtual account called a wallet. Wallets are software

programs that interface with blockchains and generate and/or store public and private keys used




        4
        Some cryptocurrencies operate on blockchains that are not public and operate in such a
way to obfuscate transactions, making it difficult to trace or attribute transactions.
                                                  3
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to send and receive cryptocurrency. A public key or address is akin to a bank account number,

and a private key is akin to a PIN number or password that allows a user the ability to access and

transfer value associated with the public address or key. To conduct transactions on a

blockchain, an individual must use the public address (or “public key”) and the private address

(or “private key”). A public address is represented as a case-sensitive string of letters and

numbers, 26-36 characters long. Each public address is controlled and/or accessed through the

use of a unique corresponding private key—the cryptographic equivalent of a password or PIN—

needed to access the address. Only the holder of an address’ private key can authorize any

transfers of cryptocurrency from that address to another cryptocurrency address.

       9.       Although cryptocurrencies such as Bitcoin and Tether have legitimate uses,

cryptocurrency is also used by individuals and organizations for criminal purposes such as

money laundering and is an oft-used means of payment for illegal goods and services. By

maintaining multiple wallets, those who use cryptocurrency for illicit purposes can attempt to

thwart law enforcement’s efforts to track transactions.

       10.      Exchangers and users of cryptocurrencies store and transact their cryptocurrency

in a number of ways, as wallet software can be housed in a variety of forms, including on a

tangible, external device (“hardware wallet”), downloaded on a PC or laptop (“desktop wallet”),

with an Internet-based cloud storage provider (“online wallet”), as a mobile application on a

smartphone or tablet (“mobile wallet”), printed public and private keys (“paper wallet”), and as

an online account associated with a cryptocurrency exchange. Because these desktop, mobile,

and online wallets are electronic in nature, they are located on mobile devices (e.g., smart phones

or tablets) or at websites that users can access via a computer, smart phone, or any device that

can search the Internet. Moreover, hardware wallets are located on some type of external or



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removable media device, such as a USB thumb drive or other commercially available device

designed to store cryptocurrency (e.g., Trezor, Keepkey, or Nano Ledger). In addition, paper

wallets contain an address and a QR code5 with the public and private key embedded in the code.

Paper wallet keys are not stored digitally. Wallets can also be backed up into, for example, paper

printouts, USB drives, or CDs, and accessed through a “recovery seed” (random words strung

together in a phrase) or a complex password. Additional security safeguards for cryptocurrency

wallets can include two-factor authorization (such as a password and a phrase). I also know that

individuals possessing cryptocurrencies often have safeguards in place to ensure that their

cryptocurrencies become further secured in the event that their assets become potentially

vulnerable to seizure and/or unauthorized transfer.

       11.       Cryptocurrency “exchangers” and “exchanges” are individuals or companies that

exchange bitcoin for other currencies and cryptocurrencies, including U.S. dollars and Tether.

According to Department of Treasury, Financial Crimes Enforcement Network (“FinCEN”)

Guidance issued on March 18, 2013, virtual currency administrators and exchangers, including

an individual exchanger operating as a business, are considered money services businesses.6

Such exchanges and exchangers are required to register with FinCEN and have proper state

licenses (if required under applicable state law). From my training and experience, I know that

registered money transmitters are required by law to follow Bank Secrecy Act anti-money

laundering (“AML”) regulations, “Know Your Customer” (“KYC”) protocols, and other

verification procedures similar to those employed by traditional financial institutions. For



       5
           A QR code is a matrix barcode that is a machine-readable optical label.
       6
         See “Application of FinCEN’s Regulations to Person Administering, Exchanging, or
Using Virtual Currencies,” available at https://www.fincen.gov/resources/statutes-
regulations/guidance/application-fincen-regulations-persons-administering.
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example, FinCEN-registered cryptocurrency exchangers often require customers who want to

open or maintain accounts on their exchange to provide their name, address, phone number, and

the full bank account and routing numbers that the customer links to an exchange account. As a

result, there is significant market demand for illicit cryptocurrency-for-fiat currency exchangers,

who lack AML or KYC protocols and often also advertise their ability to offer customers stealth

and anonymity. These illicit exchangers routinely exchange fiat currency for cryptocurrencies

by meeting customers in person or by shipping cash through the mail. Due to the illicit nature of

these transactions and their customers’ desire for anonymity, such exchangers are frequently able

to charge a higher exchange fee, often as high as 9-10% (in contrast to registered and BSA-

compliant exchangers, who may charge fees as low as 1-2%).

       12.     Binance Capital Management Co., Ltd. (“BINANCE”) is a Cryptocurrency

exchange and custodian that allows users to buy, sell and store digital assets. They hold a

Money Service Business Registration in the United States. Their registration shows an address

of Level 3, Melita Court, Triq Giuseppe Cali, Ta’Xbiex XBX 1420, MALTA.

       13.     Some companies offer cryptocurrency wallet services which allow users to

download a digital wallet application onto their smart phone or other digital device. A user

typically accesses the wallet application by inputting a user-generated PIN code or password.

Users can store, receive, and transfer cryptocurrencies via the application; however, many of

these companies do not store or otherwise have access to their users’ funds or the private keys

that are necessary to access users’ wallet applications. Rather, the private keys are stored on the

device on which the wallet application is installed (or any digital or physical backup private key

that the user creates). As a result, these companies generally cannot assist in seizing or otherwise

restraining their users’ cryptocurrency. Nevertheless, law enforcement could seize



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cryptocurrency from the user’s wallet directly, such as by accessing the user’s smart phone,

accessing the wallet application, and transferring the cryptocurrency therein to a law

enforcement-controlled wallet. Alternatively, where law enforcement has obtained the recovery

seed for a wallet (see above), law enforcement may be able to use the recovery seed phrase to

recover or reconstitute the wallet on a different digital device and subsequently transfer

cryptocurrencies held within the new wallet to a law enforcement-controlled wallet.

                                     PROBABLE CAUSE

       14.     As set forth below, there is probable cause to believe that the Defendant Property

represents proceeds obtained through violations of 18 U.S.C. § 1343 (Wire Fraud). Pursuant to

18 U.S.C. § 981(a)(1)(C), any property, real or personal, which constitutes or is derived from

proceeds traceable to a “specified unlawful activity,” or a conspiracy to commit such offense is

subject to civil forfeiture. Pursuant to 18 U.S.C. § 1961(1), as incorporated by 18 U.S.C.

§ 1956(7)(a), violations of 18 U.S.C. § 1343 are a specified unlawful activity.

       The Scheme to Defraud

       15.     On April 29, 2022, Detective Aidan Evelyn of the Lexington Massachusetts

Police Department contacted me regarding a Lexington resident, further referred by the initials

Q.W. Q.W. was initially contacted on March 26, 2022, by an individual named “Zhang Aaron”

through a LinkedIn message. A subsequent search of LinkedIn for the individual who contacted

Q.W. yielded no results.

       16.     After connecting on LinkedIn, the individual or individuals purporting to be

Zhang then began communicating with Q.W. both through text messaging, using a phone

number ending in 0276, and through a messaging application called “WeChat”, utilizing two

usernames. A subsequent search of subscriber information through a law enforcement database


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yielded no results for these usernames. Q.W. stated that Zhang claimed to be from the Hubei

Province in China and working for Goldman Sachs in New York before being laid off during the

pandemic. They primarily communicated through WeChat and text messages. A subsequent

search of subscriber information through TransUnion TLOxp™ for law enforcement database

yielded no results.

       17.     Q.W. stated that Zhang initially contacted because she offered graphic web design

in her LinkedIn profile, and Zhang was inquiring regarding potential references. Q.W. stated

that during their conversations, Zhang began discussing cryptocurrency. Q.W. had never

purchased or sold cryptocurrencies before communicating with Zhang. Q.W. was initially

intrigued and interested by the potential return on investment, and Zhang appeared to be very

knowledgeable.

       18.     As evidenced by Q.W.’s messages and statements, between March 30 and April

22, 2022, the individual or individuals identifying themselves as Zhang instructed Q.W. to

purchase and then transfer cryptocurrency worth approximately 129,518.58 USDT to specific

cryptocurrency wallets that Zhang identified.

       19.     Following Zhang’s instructions, Q.W. established a Coinbase account and

electronically transferred money from her Bank of America account, located in Massachusetts, to

Coinbase, located in San Francisco, California. Zhang then instructed Q.W. to download an app

called “BXMEX” and transfer cryptocurrency from her Coinbase account to cryptocurrency

wallet addresses she believed to be related with “BXMEX”.

       20.     I conducted a review of the transfer details provided by Q.W. and, as shown in the

chart below, was able to verify five cryptocurrencies transfers from her Coinbase account




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consisting of four transfers totaling 21.980076 Ethereum (ETH)7 and one transfer of 59,975.20

USD Coin (USDC), a stablecoin, for a total amount of approximately 129,518.58 USDT. These

transactions are shown below, indicating the dates and UTC time. 8


 Date          Amount                Transaction Hash
 Mar-30-2022
 08:54:11 PM   0.55829233 ETH        0x1e5de43b93c89015b98d4cb68b9edd27bfee125ddb253d44b45df89453827809
 Mar-31-2022
 06:48:00 PM   5.95303179 ETH        0xaa634bc16f4d55d06bee3bde672c55272b8f23afba779f01fd71a1c9de53adaf
 Apr-06-2022
 07:30:58 PM   6.0440141 ETH         0x66240d160d06796f44eca2d74516e83fe28a9035fc7dee85746df28a1ebe4440
 Apr-19-2022
 07:27:14 PM   9.42473834 ETH        0x00a7803f1e33cd8dfc4163ced92414bbf79bfc48ac473c0570df732f09adcf51
 Apr-22-2022
 04:00:40 PM   59,975.204589 USDC    0x7807aba51ea8f23219b75c454c221e02fb239844edf23ab26b762b9ed5240fc8



       21.     Q.W. stated that when she viewed her investments on the BXMEX trading

platform, it appeared that they continued to increase, instead of fluctuating with the cryptocurrency

market. Q.W. stated that she became suspicious of the BXMEX trading platform and contacted

Zhang via WeChat under the pretense of needing money for an overseas vacation. As a result, she

was able to withdraw 12,870 USDT on April 27, 2022, to her Coinbase account using instructions

provided by Zhang. Q.W. stated that when she tried using the same instructions to withdraw the

rest of her funds from the BXMEX platform, she was unable to do so.

       22.     Q.W. provided law enforcement with screenshots of the transactions conducted

from her Coinbase account to “BXMEX”.

       23.     I conducted an open-source search relating to the application “BXMEX” and

discovered several news articles and victim reports identifying BXMEX as a fraudulent

cryptocurrency exchange.


       7
         ETH is not a stablecoin and thus tends to fluctuate in value more than a stablecoin.
       8
          UTC is Universal Time Coordinated, also known as Coordinated Universal Time. This
is also known as Greenwich Mean Time.
                                                  9
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       24.     As of August 4, 2022, an open-source check of the website “bxmex.com”

revealed that the domain URL is no longer active, however, I was able to utilize a publicly

available domain called The Wayback Machine9, to review two historical snapshots of the

BXMEX website that were captured on December 5, 2020, and November 28, 2021.

       25.     Based on my training and experience, as well as conversations with other

investigators familiar with cryptocurrency platforms, I would expect a legitimate cryptocurrency

platform website to display clearly outlined platform policies, company contact information,

information regarding the platform’s creation, company staff information, along with access for

desktop and mobile computing.

       26.     Further examination of the archived website referenced above showed the website

written predominately in Chinese with two large, hyperlinked buttons for iOS and Android app

downloads. There were no other logos or mentions of legitimate cryptocurrency exchanges or

investment organizations. Upon inspection of the respective App Store hyperlinks, I discovered

that the links do not take the user to either the Apple or Android App Stores – instead, it led the

user to download the BXMEX application directly from the website.

       27.     Accordingly, I have probable cause to the believe Q.W. was fraudulently induced to

transfer funds to a scam cryptocurrency platform, i.e., wire fraud, in violation of 18 U.S.C. § 1343.

       28.     As a result of this fraud scheme, Q.W. transferred funds to the wallet ending in

5b05. Based on records obtained from Coinbase, I was able to identify an additional victim who




       9
          The Wayback Machine is a 501(c)(3) non-profit based out of California, launched
public in 2001 and its primary function is to build a digital library of internet sites and other
cultural aspects in digital form. It saves often limited versions of main pages of websites since
files systems and subsystems that enable all of the links and multimedia to work properly are not
publicly available. Internet Archive is a useful open-source tool to see if there used to be a
website under specific domains.
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transferred funds to the wallet ending in 5b05. That victim, identified as L.L., is a resident of

Fullerton, California, with funds in ACCOUNT-3 (described further in this affidavit), who

suffered a total loss of approximately of $293,700.06.

        29.     L.L. was contacted through LinkedIn, WeChat, and Line (a messaging

application) and was befriended by unknown individual. L.L. reported that throughout their

approximately one to two weeklong communications, starting around March 20, 2022, the

individual changed screen names multiple times. L.L. reported that the individual spoke both

English and Mandarin and encouraged L.L. to invest in cryptocurrency. At the direction of this

individual, L.L. transferred approximately $293,700.06 to the wallet ending in 5b05 through

Coinbase. After transferring these funds, L.L. was unable to access his funds. L.L. subsequently

reported this incident to IC3, the Internet Crime Complaint Center concerning suspected

Internet-facilitated criminal activity.

                The Flow of Funds

        30.     Subsequent analysis indicates that funds in ACCOUNT-1, ACCOUNT-2, and

ACCOUNT-3 can be traced to the transfers from Q.W.’s Coinbase account.

        31.     The five (5) transfers from Q.W. Coinbase account are reflected in Figure 1

below, with times shown in UTC. Four transactions were in Ethereum cryptocurrency and later

were converted to USDT.


 Date: Mar-30-2022 08:54:11 PM
 Amount: 0.55828233 ETH later combined with other ETH and converted to 1,813.54 USDT
 Sent to wallet address: 0x375bae7c4ba9ebb746f7415c1aafcaf213605b05 (Wallet ending in 5b05)
 Transaction Hash: 0x1e5de43b93c89015b98d4cb68b9edd27bfee125ddb253d44b45df89453827809

 Date: Mar-31-2022 06:48:00 PM
 Amount: 5.953031.79 ETH later combined with other ETH and converted to 19,340.76 USDT
 Sent to wallet address: 0x375bae7c4ba9ebb746f7415c1aafcaf213605b05 (Wallet ending in 5b05)
 Transaction Hash: 0xaa634bc16f4d55d06bee3bde672c55272b8f23afba779f01fd71a1c9de53adaf



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 Date: Apr-06-2022 07:30:58 PM
 Amount: 6.044 ETH later converted to 19,462,26 USDT
 Sent to wallet address: 0x375bae7c4ba9ebb746f7415c1aafcaf213605b05 (Wallet ending in 5b05)
 Transaction Hash: 0x66240d160d06796f44eca2d74516e83fe28a9035fc7dee85746df28a1ebe4440

 Date: Apr-19-2022 07:27:14 PM
 Amount: 9.4247 ETH later converted to 29,297.82 USDT
 Sent to wallet address: 0x375bae7c4ba9ebb746f7415c1aafcaf213605b05 (Wallet ending in 5b05)
 Transaction Hash: 0xd5189c0eb1117f181c6def485c5b439243c7c843a5db8ab05865451fc68a07ee

 Date: Apr-22-2022 04:00:40 PM
 Amount: 59,938.60 USDT
 Sent to wallet address: 0x375bae7c4ba9ebb746f7415c1aafcaf213605b05 (Wallet ending in 5b05)
 Transaction Hash: 0x7807aba51ea8f23219b75c454c221e02fb239844edf23ab26b762b9ed5240fc8


                                                Figure 1

       The Flow of Funds to ACCOUNT-1:

       32.      After receiving 59,975.20 USDC of Q.W.’s funds on April 22, 2022, the

controller of wallet address ending in 5b05 remitted the funds to a series of intermediary

wallets10 before almost all of these funds (59,938.60 USDT) were ultimately transferred to the

wallet address ending in d46B (see Figure 2). USSS agents contacted Binance for information

relating to the transfer of funds into wallet address ending in d46B and obtained account records

from Binance indicating that this transaction corresponds to ACCOUNT-1, as described more

fully below. After internal Binance review, Q.W.’s funds were converted into 87,321.38 BEL,

       33.      A listing of the transactions to the intermediary wallets involving Q.W.’s funds

can be found in Figure 2 below, with times shown in UTC:


 Date: Apr-22-2022 04:15:47 PM
 Amount: 59,975.20 USDC
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0x8c37ba60982ec1192238f36fde60ac96ab3d5633f7a45060dd46b58acaee75ff

       10
           Intermediary wallets are typically private wallets or non-exchange wallets that obfuscate
transactions on the Blockchain. Intermediary wallets support the movement of illicitly obtained
funds as they help to conceal and disguise the source of the USDT by layering and severing
straight line coordinates of transaction activity on the Blockchain to cash out exchangers.
                                                   12
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 Date: Apr-22-2022 04:17:51 PM
 Conversion of 59,975.20 USDC to 59, 938,60 USDT
 Wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Conversation Hash: 0x5af0890e72ec210fab50f4b612c065eb81726a7f7c229910666acd79d4f1c653

 Date: Apr-22-2022 09:47:07 PM
 Amount: 59,806.73 USDT
 Sent to wallet address: 0x3edce9ee1e655c4e8b383d2186ce0b602f348330
 Transaction Hash: 0x6c185ae48c9b0d50c4b5b6bdb163cc0c793df683d1ee22529490a0c95637ca0c

 Date: Apr-23-2022 06:27:44 AM
 Amount: 800,000 USDT
 Sent to wallet address: 0x081adceafa50353042020dd55de0961e210f1aeb
 Transaction Hash: 0xb7b6d759f3db3c02fec87c585110688e21ce51b82ecf2b3da9631c40ca165ca7

 Date: Apr-28-2022 12:10:58 PM
 Amount: 476,732 USDT
 Sent to wallet address: 0x6d3a1059ad3b9271a13c68c8522f504b3cce0a74
 Transaction Hash: 0xa4e85c7a816fa3153b9cc34e50a2c5a42e7028b6db0090dec6dd8e20bcad10b8

 Date: Apr-28-2022 12:21:23 PM
 Amount: 506,186 USDT
 Sent to wallet address: 0x7a96d8c26233dbadf92650d3c27d28ddd72eb085
 Transaction Hash: 0x240f02760bca8d31caa12c55e120a74d0b28cf65efb677d496f5ae4725d50126

 Date: Apr-29-2022 03:21:46 AM
 Amount: 59,523 USDT
 Sent to wallet address: 0x5fa1cee62b2b20ae16ef4f6dfaa4511b2eb9d46b
 Transaction Hash: 0xd86b22101e24fc7bd0968f7af601b8e90b6007f92478bb1794dfd1d8d23b4c16


                                             Figure 2

       34.     A visual depiction containing the transfers identified in Figures 1 and 2 above are

reflected in Attachment 1.

       35.     After reviewing Attachment 1 and other facts of this investigation, I was able to

identify that after multiple intermediary transfers, 59,938.60 USDT of Q.W.’s funds were

ultimately transferred to wallet address ending in d46B (referenced in paragraph 32). Records

provided by Binance reflect that the transfer of Q.W.’s funds into wallet address ending in d46B

(referenced in Attachment 1, Figure 2, and paragraph 32) is attributable to Binance Account ID


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number 285513545, also known as ACCOUNT-1, which is held in the name of Marut Mebutdee.

The records indicate that ACCOUNT-1 was opened on or about October 11, 2021.

       36.     Of the amounts held in ACCOUNT-1, the Government seized 59,938.60 USDT

on October 24, 2022, reflecting the total amount of Q.W.’s funds that were traced and transferred

to ACCOUNT-1. Q.W.’s funds were sent from Q.W. on April 22, 2022, traced through analysis

shown in Attachment 1, transferred through a series of intermediary wallets identified in Figure

2, and ultimately ended up in ACCOUNT-1. On October 24, 2022, Binance sent 87,321.38

BEL. Currently, the seized BEL is being held in a USSS controlled crypto wallet.

       The Flow of Funds to ACCOUNT-2:

       37.     After receiving 6.044 ETH and 9.4247 ETH of Q.W.’s funds on April 6 and April

19, 2022 (see Figure 1), the controller of wallet address ending in 5b05 remitted the funds to a

series of intermediary wallets and converted to USDT before 29,239.22 USDT of these funds

were ultimately transferred to the wallet address ending in ae97 (see Figure 3). USSS agents

contacted Binance for information relating to the transfer of funds into wallet address ending in

ae97 and obtained account records from Binance indicating that this transaction corresponds to

ACCOUNT-2, as described more fully below.

       38.     A listing of these transactions can be found in Figure 3 below, with times shown

in UTC:


 Date: Apr-06-2022 07:39:48 PM
 Amount: 6.044 ETH
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0x5d1aa3c7d78c94a6686f2fca53469dfa756cd9a331c586d52289dbae8181b375

 Date: Apr-06-2022 07:53:28 PM
 Conversion 6.03 WETH to 19,462.26 USDT
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0x0e1da63294f6f3e15d1dd3998707f706738a7d4584fde2e76eb3f41368e88a86



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 Date: Apr-09-2022 02:16:14 PM
 Amount: 19524.44 USDT
 Sent to wallet address: 0x54debb11a97681b59b2ef4b337dae4f8918e3423
 Transaction Hash: 0x14a32433029363bf3762fc0689395788848e85bceb0391dd6eddd0b61f104b61

 Date: Apr-19-2022 07:47:19 PM
 Amount: 9.4163 ETH
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0x814cf1ecd0b295c78ad8b3bef962ff0b0fd25fd517546141ce88a139e5022ab6

 Date: Apr-19-2022 07:50:30 PM
 Conversion 9.4163 WETH to 29,297.82 USDT
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0x51513adf0c077e42be111768bd8d7689ae3f8aa720ca07b4e431a3bc2f615c72

 Date: Apr-20-2022 12:47:29 AM
 Amount: 29,239.22 USDT
 Sent to wallet address: 0x54debb11a97681b59b2ef4b337dae4f8918e3423
 Transaction Hash: 0xbf0dc6c286fe8959def4a926c2d84fd2cc8ed9ee78a25e77b97177425775fc3c

 Date: Apr-20-2022 07:02:14 AM
 Amount: 1,000,000 USDT
 Sent to wallet address: 0x0999d095dfa07b3481ecc92c4081db25251dbde3
 Transaction Hash: 0xc4cf7a8c02a4555812b94d786d4f492387561bcf849aa49517afcecdac4dc0e1

 Date: Apr-21-2022 08:12:40 AM
 Amount: 370,370 USDT
 Sent to wallet address: 0x41d21433db2a7d2fdc6f011ecfc6bdb099c7b922
 Transaction Hash: 0xe82a879ae0a32078d80e2c59a5cf4401fad39063675615a186d8099024949bce

 Date: Apr-22-2022 01:08:28 PM
 Amount: 71,641 USDT
 Sent to wallet address: 0xdac17f958d2ee523a2206206994597c13d831ec7
 Transaction Hash: 0x7e17959d37474007ab5c4f6187ecb73af8797ac255f2c54279563c4383b7d7a8


                                             Figure 3

       39.     A visual depiction containing the transfers identified in Figure 3 above are

reflected in Attachment 2.

       40.     After reviewing Attachment 2 and other facts of this investigation, I was able to

identify that after multiple intermediary transfers, 29,239.22 USDT of Q.W.’s funds were

ultimately transferred to wallet address ending in ae97 (referenced in paragraph 37). Records


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provided by Binance reflect that the transfer of Q.W.s funds into wallet address ending in ae97

(referenced in Attachment 2 and paragraph 37) is attributable to Binance Account ID number

153035005, also known as ACCOUNT-2, which is held in the name of Yicai Luo. Records

indicate that ACCOUNT-2 was opened on or about May 11, 2021.

       41.     Of the amount currently held in ACCOUNT-2, the Government seized 29,239.22

USDT on October 24, 2022, reflecting the total amount of Q.W.’s funds (referenced above) that

were traced and transferred to ACCOUNT-2. Q.W.’s funds were sent from Q.W. between April

6 and April 19, 2022, traced through analysis shown on Attachment 2, transferred through a

series of intermediary wallets identified in Figure 3, and ultimately ended up in ACCOUNT-2.

The seized USDT is currently being held in a USSS controlled crypto wallet.

       Flow of Funds to ACCOUNT-3:

               Q.W. Victim

       42.     After receiving 0.5582 ETH and 5.95 ETH of Q.W.’s funds on March 30 and

March 31, 2022 (see Figure 1), the controller of wallet address ending in 5b05 remitted the funds

to a series of intermediary wallets and converted to USDT before 21,154.3 USDT of the victim

funds were ultimately transferred to Binance User ID 195586421 (see Figure 4). USSS agents

contacted Binance for information relating to the transfer of funds into Binance User ID

195586421 and obtained account records from Binance indicating that this transaction

corresponds to ACCOUNT-3, as described more fully below in paragraph 45.

       43.     A listing of these transactions can be found in Figure 4 below, with times shown

in UTC:


 Date: Mar-30-2022 08:58:11 PM
 Amount: 0.5582 ETH
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0x381d3f2245877a225050d1c85657d17e6efa14ad3bd780bd4ad1a844c1732da1

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 Date: Mar-31-2022 06:52:33 PM
 Amount: 5.95 ETH
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0x7ee64a29338a1968b7d4ac4fb6cb5079514ab7209d0fb4f9d9bab46b85f33185

 Date: Apr-01-2022 05:56:04 AM
 Conversion 50.8 WETH to 165,044.63 USDT
 Sent to wallet address: 0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7
 Transaction Hash: 0xe3c9a1a2a3438452143483c5c0fa4398c0a8edf8780afa1610f3e8a56a43304a

 Date: Apr-01-2022 09:07:02 AM
 Amount: 164,681.53
 Sent to wallet address: 0xeb60841a784f70e3df0f5b5af945872697aadc2e
 Transaction Hash: 0x8d6283b6624d27752da5e7675d6a4dbb95a795d84a8e1c69a83235736c4db8bc

 Date: Apr-01-2022 03:49:56 PM
 Amount: 179,820 USDT
 Sent to wallet address: 0x240a186788afb5f52cbb04864bac7012fb990803
 Transaction Hash: 0xc3b10f5c8eef8ecb8176aaaab2aa4651bbba3582faf91a75340ee4b5881b4b60

 Date: Apr-02-2022 04:51:07 PM
 Amount: 52,308 USDT
 Sent to wallet address: 0x519c7e4181aeb20f4e7b400eb4aa21891f794a3b
 Transaction Hash: 0x39b0fe86b0ec36c2a9267904db6e3ee94719114fe2e844e287da5dd061c3652e

 Date: Apr-03-2022 06:28:35 AM
 Amount: 15,000 USDT
 Sent to wallet address: 0x97f7a4f0a3fefb79ad643fbf04289795065a2a85
 Transaction Hash: 0x2cd05b2c5487cd290a029036fbfde49afd3997b838c19774e10286c091c1e2d2

 Date: Apr-03-2022 07:33:09 AM
 Amount: 37,308 USDT
 Sent to wallet address: 0x97f7a4f0a3fefb79ad643fbf04289795065a2a85
 Transaction Hash: 0xcce6d45361ff4c14a6793fa2a460a140cbe8bd0454853a61ebf37cee32c416b7

 Date: Apr-05-2022 12:53:22 PM
 Amount: 50,896 USDT
 From Binance wallet address: 315786987

                                             Figure 4

       44.      A visual depiction containing the transfers identified in Figure 4 above are

reflected in Attachment 3.




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       45.     After reviewing Attachment 3 and other facts of this investigation, I was able to

identify that after multiple intermediary transfers, 21,154.3 USDT of Q.W.’s funds were

ultimately transferred to Binance User ID 195586421 (referenced in paragraph 42). Records

provided by Binance reflect that the transfer of Q.W.’s funds (Figure 4, and paragraph 42) is

attributable to Binance Account ID number 195586421, also known as ACCOUNT-3, which is

held in the name of Li Chun Gyi. Records indicate that ACCOUNT-3 was opened on or about

November 7, 2021.

               L.L. Victim

       46.     After receiving 44.8497 ETH and 43.5329 ETH of L.L. funds on March 29 and

March 30, 2022 (see Figure 5), the controller of wallet address ending in 5b05 remitted the funds

to a series of intermediary wallets and converted to USDT. Once converted to USDT, L.L.’s

funds were comingled with Q.W.’s funds in the transfer of 164,681.53 USDT on April 1, 2022,

referenced in Figure 4 above. On April 2, 2022, 31,153.70 USDT of L.L.’s funds, along with

Q.W.’s funds, in a transfer totaling 52,308 USDT were transferred into intermediary wallet

address ending in 94a3b and ultimately transferred to Binance User ID 195586421, also known

as ACCOUNT-3.

       47.     On October 24, 2022, the Government seized 52,308 USDT. This is the total

amount of Q.W.’s and L.L.’s funds (referenced above) that were traced and transferred to

ACCOUNT-3. The seized USDT is currently being held in a USSS controlled crypto wallet.




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